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7    Attorney for Movant

8                        IN THE UNITED STATES BANKRUPTCY COURT

9                                FOR THE DISTRICT OF ARIZONA

10    In Re:                                         Chapter 7 Proceedings
11    Jeffrey Martin Stevens and Jill Annette        (Previous Chapter 13 Proceedings)
      Stevens,
12                                                   Case No. 2:17-bk-10375-PS
                           Debtor.
13

14    Vantage West Credit Union,                     MOTION FOR RELIEF FROM STAYS
15                          Movant,
        vs.                                          (Re: 2014 Honda CRV)
16

17    Jeffrey Martin Stevens and Jill Annette
      Stevens, Debtor;
18    David A. Birdsell, Trustee,

19                          Respondents.

20            Movant, the holder of a claim secured by an interest in the below described motor
21   vehicle, hereby moves and applies to the Court for an order terminating the Automatic
22   Stay, pursuant to 11 U.S.C. §362 with regard to said vehicle. Movant herein desires to
23   exercise State Law forfeiture remedies with regard to said vehicle. In the event an
24   objection is filed, and the Court is not inclined to grant stay relief, Movant requests that
25   the Court enter an award for adequate protection pursuant to 11 U.S.C. §361.
26            1.    This Motion arises under Title 11 of the United States Code, in the
27   following described case which has been referred to and is pending in the United States
28   Bankruptcy Court for the District of Arizona:



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2           Debtor:                     Jeffrey Martin Stevens and Jill Annette Stevens

3           CASE NUMBER:                2:17-bk-10375-PS

4           CHAPTER:                    7 (Previous Chapter 13 Proceedings)

5           FILING DATE:                August 31, 2017

6           Conversion date:            May 16, 2018

7
            The subject motor vehicle is described as: 2014 Honda CRV.
8           2.     The obligation arises out of a Promissory Note and Security Agreement,
9    copies of which is attached as Exhibits. The principal balance owing on the obligation is
10   $21,862.74, plus interest, attorney fees and costs. Debtor is in default for failure to pay
11   the March, 2018 installment in the sum of $493.83 and all subsequent installments due
12   thereafter. Upon information and belief, and following review of Debtors Statement
13   of Intention in the Converted case, Debtor intends to surrender the subject
14   collateral to Movant.
15          3.     Movant alleges that the balance of the obligation owed Movant exceeds the
16   fair market value of the vehicle and therefore Debtor lacks equity in the subject vehicle.
17   Movant further alleges that the subject vehicle is not necessary for any proposed or
18   contemplated reorganization. Accordingly, given the lack of equity in the motor vehicle,
19   said vehicle is either burdensome or inconsequential to the administration of the Estate.
20          4.     True copies of the relevant contracts or instruments, including security
21   agreements and lienholder records, are annexed hereto as exhibits.
22          Wherefore, Movant prays that the Court enter an Order Terminating all Stays,
23   including the Automatic Stay (and, if applicable, the Co-Debtor Stay as imposed by 11
24   U.S.C. §1301), with respect to the subject motor vehicle and grant other such relief as

25   may be appropriate.     Additionally, in the event the subject collateral is surrendered,
26   Movant prays that the Court waive the fourteen day Stay following the entry of the Order

27   Terminating Stays pursuant to Bankruptcy Rule 4001(a)(3).

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1           Since Movant is attempting to minimize expenses in regard to the Bankruptcy

2    Filing, Movant respectfully requests that the entry of an Order Terminating Stay herein be

3    binding as to any Chapter under the Code to which Debtor may convert.

4           In the alternative, if the Motion is opposed and if the Court does not grant Stay

5    Relief at this time, Movant respectfully requests that the Court, at a Preliminary or Final

6    Hearing, issue such orders, as appropriate, to require Debtor to tender adequate protection

7    payments to Movant in an amount to be set by the Court pursuant to 11 U.S.C. § 361.

8
            RESPECTFULLY SUBMITTED:                   July 3, 2018
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10
                                               HOWARD A. CHOROST, P.C.
11
                                                     /s/ HC 012663
12                                             By____________________________
                                                Howard A. Chorost
13                                              Attorney for Movant 

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              EXHIBIT “A”




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              EXHIBIT “B”




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                                              Lien and Title Information Report
                                                  3254-VANTAGE WEST CREDIT UNION



Account No.                                                             VIN                          3CZRM3H51EG706260
Loan No.                                                                Branch
Loan Suffix
Customer                             JILL A STEVENS
Organization ID                      3254                               Organization Name            VANTAGE WEST CREDIT UNION
Lien Start                           12/26/2014                         Lien End
Original Loan Amount                 $35,162.56                         Lien Balance Amount          $21,862.74
Lien Type                            Retail                             Dealer ID




                                                           Last ELT Transactions

Received On
2015-01-08 11:25:42.0                                                    Add Record - Perfection of Lien


                                                           Borrower / Lesee Details

Name                          JILL A STEVENS

Address                       15263 N CASTILLO DR,FOUNTAIN HILLS AZ,85268


                                                             Vehicle Information

Vehicle Type                  Auto                                    Make                                  HONDA
Model                         CR-V                                    Year                                  2014
Mileage                       0


                                                              Title Information

Title Number                           656H015007026                           Title State            AZ
Tag Number                                                                     VIN                    3CZRM3H51EG706260
Status                                 MATCHED                                 Match Date             01/08/2015
Lien Expiration Date                                                           Media Type              Electronic




                                                              State Information

Name                          STEVENS, JILL A                                Lessee

Address                       15263 N CASTILLO DR,FOUNTAIN HILLS
                              AZ,852681628
Vehicle Type                                                                 Make                    HOND
Model                         CRV                                            Year                    2014
Mileage                       8
Title State                   AZ                                             Title Number            656H015007026
Brands




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